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                  NOTICE OF APPEARANCE FOR SUBSTITUTE, ADDITIONAL, OR AMICUS COUNSEL


Short Title: Vitagliano v. County of Westchester                       _____             Docket No.: 23-30   ________

Substitute, Additional, or Amicus Counsel’s Contact Information is as follows:

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Appearance for:      Amicus Curiae Eleanor McCullen
                                                         (party/designation)
Select One:
G Substitute counsel (replacing lead counsel:                                                                       )
                                                         (name/firm)

G Substitute counsel (replacing other counsel:                         _______                                      )
                                                         (name/firm)

G Additional counsel (co-counsel with:                                                                              )
                                                         (name/firm)

G Amicus (in support of: Appellant Debra A. Vitagliano
✔                                                                                                                   )
                                                         (party/designation)


                                                   CERTIFICATION
I certify that:

✔
G I am admitted to practice in this Court and, if required by Interim Local Rule 46.1(a)(2), have renewed

my admission on      11/9/2021                                                                                    OR

G I applied for admission on                                                                                        .


Signature of Counsel: /s/ Edward M. Wenger

Type or Print Name:     Edward M. Wenger
